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                                                  CORRECTED


     In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 20-1466V
                                          UNPUBLISHED


    JENNIFER INSCOE,                                            Chief Special Master Corcoran

                         Petitioner,                            Filed: August 30, 2022
    v.
                                                                Special Processing Unit (SPU); Joint
    SECRETARY OF HEALTH AND                                     Stipulation on Damages; Influenza
    HUMAN SERVICES,                                             (Flu) Vaccine; Shoulder Injury
                                                                Related to Vaccine Administration
                         Respondent.                            (SIRVA)


Mark Theodore Sadaka, Law Offices of Sadaka Associates, LLC, Englewood, NJ, for
Petitioner.

Andrew Henning, U.S. Department of Justice, Washington, DC, for Respondent.


                                DECISION ON JOINT STIPULATION1

        On October 26, 2020, Jennifer Inscoe filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that she suffered a shoulder injury related to vaccine
administration (“SIRVA”) as a result of an influenza (“flu”) vaccine administered on
November 7, 2019. Petition at 1; Stipulation, filed on August 26, 2022, at ¶¶ 2, 4. In the
alternative, Petitioner alleges that the flu vaccine administered on November 7, 2019
significantly aggravated a preexisting shoulder injury. Id. Petitioner further alleges that
she received the vaccine in the United States, that she experienced the residual side
effects of her injury for more than six months, and that there has been no prior award or
settlement of a civil action for damages as a result of her alleged condition. Petition at 1,
3; Stipulation at ¶¶ 3, 5. “Respondent denies that petitioner sustained a SIRVA Table
injury; denies that the flu vaccine caused petitioner’s alleged shoulder injury or any injury
1  Because this unpublished Decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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or significantly aggravated a preexisting injury; and denies that her current condition is a
sequelae of a vaccine-related injury.” Stipulation at ¶ 6.

       Nevertheless, on August 26, 2022, the parties filed the attached joint stipulation,
stating that a decision should be entered awarding compensation. I find the stipulation
reasonable and adopt it as my decision awarding damages, on the terms set forth therein.

     Pursuant to the terms stated in the attached Stipulation, I award the following
compensation:

        A lump sum of $33,000.00 in the form of a check payable to Petitioner.
        Stipulation at ¶ 8. This amount represents compensation for all items of damages
        that would be available under Section 15(a). Id.

       I approve the requested amount for Petitioner’s compensation. In the absence of
a motion for review filed pursuant to RCFC Appendix B, the Clerk of Court is directed to
enter judgment in accordance with this decision.3

       IT IS SO ORDERED.

                                                                 s/Brian H. Corcoran
                                                                 Brian H. Corcoran
                                                                 Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

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                IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                          OFFICE OF SPECIAL MASTERS

                                                     )
 JENNIFER INSCOE,                                    )
                                                     )
                 Petitioner,                         )
                                                     )    No. 20-1466V (ECF)
 v.                                                  )    Chief Special Master Corcoran
                                                     )
 SECRETARY OF HEALTH                                 )
 AND HUMAN SERVICES,                                 )
                                                     )
                 Respondent.                         )


                                          STIPULATION
       The parties hereby stipulate to the following matters:

        l. Jennifer Inscoe, petitioner, filed a petition for vaccine compensation under the

National Vaccine Injury Compensation Program, 42 U.S.C. §§ 300aa-l0 et seq. (the "Vaccine

Program'l The petition seeks compensation for injuries allegedly related to petitioner's receipt

of the seasonal influenza ("flu'') vaccine, which vaccine is contained in the Vaccine Injury

Table (the "Table"), 42 C.F.R. § 100.3(a).

       2. Petitioner received a flu vaccine on or about November 7, 20 J9.

       3. The vaccination was administered within the United States.

       4. Petitioner alleges that the flu vaccine caused her to develop a left shoulder injury

related to vaccine administration ('·SIRVA'"). In the alternative, petitioner argues that the tlu

vaccine significantly aggravated a preexisting shoulder injury

       5. Petitioner represents that there has been no prior award or settlement of a civil action

for damages on her behalf as a result of her alleged condition.

       6. Respondent denies that petitioner sustained a SlRVA Table injury; denies that the

flu vaccine caused petitioner's alleged shoulder injury or any injury or significantly aggravated
                                                 t
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a preexisting injury; and denies that her current condition is a sequelae of a vaccine-related

injury.

          7. Maintaining their above-stated positions, the parties nevertheless now agree that the

issues between them shall be settled and that a decision should be entered awarding the

compensation described in paragraph 8 of this Stipulation.

          8. As soon as practicable after an entry of judgment reflecting a decision consistent with

the tenns of this Stipulation, and after petitioner has filed an election to receive compensation

pursuant to 42 U.S.C. § 300aa-21(a)(l), the Secretary of Health and Human Services will issue

the following vaccine compensation payment:

      A lump sum of $33,000.00 the form of a check payable to petitioner. This amount
      represents compensation for all damages that would be available under 42 U.S.C.
      § 300aa-15(a).

          9. As soon as practicable after the entry of judgment on entitlement in this case, and after

petitioner has filed both a proper and timely election to receive compensation pursuant to 42

U.S.C. § 300aa-2 l(a)( I), and an application, the parties will submit to further proceedings before

the special master to award reasonable attorneys' fees and costs incurred in proceeding upon this

petition.

          10. Petitioner and her attorney represent that compensation to be provided pursuant to

this Stipulation is not for any items or services for which the Program is not primarily liable

under 42 U.S.C. § 300aa- l S(g), to the extent that payment has been made or can reasonably be

expected to be made under any State compensation programs, insurance policies, Federal or

State health benefits programs (other than Title XIX of the Social Security Act (42 U.S.C.

§ 1396 et seq.)), or by entities that provide health services on a pre~paid basis.




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        1I. Payment made pursuant to paragraph 8 of this Stipulation and any amounts awarded

pursuant to paragraph 9 of this Stipulation will be made in accordance with 42 U.S.C.

§ 300aa- 15(i), subject to the availability of sufficient statutory funds.

        12. The parties and their attorneys further agree and stipulate that, except for any award

for attorneys' fees and litigation costs, and past unreimbursable expenses, the money provided

pursuant to this Stipulation will be used solely for petitioner's benefit as contemplated by a strict

construction of 42 U.S.C. §§ 300aa-15(a) and (d), and subject to the conditions of 42 U.S.C.

§§ 300aa-15(g) and (h).

        13. In return for the payments described in paragraphs 8 and 9, petitioner, in her

individual capacity, and on behalf of her heirs, executors, administrators, successors or assigns,

does forever irrevocably and unconditionally release, acquit and discharge the United States and

the Secretary of Health and Human Services from any and all actions or causes of action

(including agreements, judgments, claims, damages, loss of services, expenses and all demands

of whatever kind or nature) that have been brought, could have been brought, or could be timely

brought in the Court of Federal Claims, under the National Vaccine Injury Compensation

Program, 42 U.S.C. § 300aa-l Oet seq., on account of, or in any way growing out of, any and all

known or unknown, suspected or unsuspected personal injuries to or death of petitioner resulting

from, or alleged to have resulted from, the flu vaccination administered on or about November

7, 2019, as alleged by petitioner in a petition for vaccine compensation filed on or about October

26, 2020, in the United States Court of Federal Claims as petition No. 20-l466V.

       14. If petitioner should die prior to entry ofjudgment, this agreement shall be voidable

upon proper notice to the Court on behalf of either or both of the parties.




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        15. If the special master fails to issue a decision in complete conformity with the terms

of this Stipulation or if the Court of Federal Claims fails to enter judgment in conformity with a

decision that is in complete conformity with the terms of this Stipulation, then the parties'

settlement and this Stipulation shall be voidable at the sole discretion of either party.

        16. This Stipulation expresses a full and complete negotiated settlement of liability and

damages claimed under the National Childhood Vaccine Injury Act of 1986, as amended, except

as otherwise noted in paragraph 9 above. There is absolutely no agreement on the part of the

parties hereto to make any payment or to do any act or thing other than is herein expressly stated

and clearly agreed to. The parties further agree and understand that the award described in this

Stipulation may reflect a compromise of the parties' respective positions as to liability and/or

amount of damages, and further, that a change in the nature of the injury or condition or in the

items of compensation sought, is not grounds to modify or revise this agreement.

        17. This Stipulation shall nol be construed as an admission by the United States or the

Secretary of Health and Human Service that the tlu vaccine caused petitioner· s alleged shoulder

injury or any other injury or her current disabilities. or that petitioner suffered an injury

contained in the Vaccine Injury Table.

        l 8. All rights and obligations of petitioner hereunder shall apply equally to petitioner's

heirs, executors, administrators, successors, and/or assigns.


                                     END OF STIPULATION




                                                   s
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  Respectfully submitted,

  PETITIONER:



   ~nifetin~: (Aug 11, 2022 lS:05 EDT)
  JENNIFER INSCOE

  ATTORNEY OF RECORD                         AUTHORIZED REPRESENTATIVE
  FOR PETITIONER:                            OF THE ATTORNEY GENERAL:



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  Attorney for Petitioner
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  AUTHORIZED REPRESENTATIVE                  ATIORNEYOFRECORDFOR
  OFTHESECRETARYOFHEALTH                     RESPONDENT:
  AND HUMAN SERVICES:
               Digitally signed by
George R• George        R. Grimes •S14
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                                             ~ ~ .\~~ ~ ~
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Dated:    o<ei J \~ l'101/l,.-

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